UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GOVERNMENT OF THE UNITED STATES VIRGIN
ISLANDS, 22-cv-10904 (JSR)

Plaintiff, ORDER

JPMORGAN CHASE BANK, N.A.,

Defendant/Third-Party Plaintiff,

JAMES EDWARD STALEY,

Third-Party Defendant.

JED S. RAKOFF, U.S.D.d.:

On July 18, 2023, plaintiff the Government of the United States
Virgin Islands (“USVI”) moved to compel the production of certain
documents from JPMorgan Chase Bank, N.A. (“JPMorgan”), as well as for
certain other relief. See Dkt. 212. After full consideration of letter
briefing submitted by USVI and JPMorgan, the Court grants USVI’s motion
in part and denies that motion in part, as further specified below.

The Court hereby grants USVI’s request to produce financial
records for any newly disclosed girls or women to whom Epstein made
payments, but only to the extent USVI is able to identify specific
individuals in this category for whom financial records have not been
previously produced to USVI. USVI shall promptly furnish JPMorgan with

a list of such individuals, and JPMorgan shall produce the requested

financial records within five business days from the date of that
request or confirm that the responsive financial records have already
been produced. The Court denies USVI’s request to compel production
of all documents and information concerning “Project Jeep” or other
investigations by JPMorgan that occurred after Epstein’s 2019 arrest.

The Court denies USVI’s request to require JPMorgan to stipulate
to the admissibility of any additional records produced or to otherwise
put forward a corporate representative to testify regarding them.

The Court grants USVI’s request to supplement its expert reports
within five days of the final document production by JPMorgan pursuant
to this Order; any such supplemental expert report shall be limited
to addressing (a) any documents newly produced pursuant to this Order
or (b) any other document or information that was produced by JPMorgan
after the close of discovery and that relates to the 2019 timeline
document that precipitated the instant motion.

The Court denies USVI’s request for monetary sanctions against
JPMorgan.

The Clerk of the Court should now close entry number 212 on the
docket of this case.

SO ORDERED.

New York, NY
August q , 2023 JE . RAKOFF, U.S.D.J.

